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IN THE UNITED sTATEs I)ISTRICT CoUthS AUG 2 PH 3= 50 `
FoR THE wEsTERN DISTRICT 0F TENNESSEE

 

 

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WESTERN DIVISION M UVS- D:RW;I CQ`UR¥

Wfi`_`; 352 i.:-i. ‘ -
ANDRE BOUSQUET, )
)
Plaintiff )
)

) No. 04-3054 DP

v. )
)
AUTONATIONS USA, INC. and )
AUTONATIONS, INC., )
)
Defendants )

 

ORDER DENYING DEFENDANT’S MOTION TO DISMISS

 

Before the Court is the motion (dkt. # 13) of Defendants AutoNation, lnc. and AutoNation
USA Corporation, Inc. (collectively “Defendants”) to dismiss the complaint of Andre Bousquet
(“Plaintiff’) pursuant to Rules lZ(b)(S) and lZ(b)(4) of the Federal Rulcs of Civil Procedure. For
the following reasons, the Court DENIES Defendants’ motion to dismiss.

Defendants first argue that Plaintift’s complaint should b§‘- dismissed pursuant to Rule
lZ(b)(S) of the Federal Rules of Civil Procedure because Plaintiff did not meet the 120-day
requirement under Rule 4(m) and because Plaintiff did not serve an authorized agent under Rule
4(h). Rule 12(b)(5) enables a defendant to file a motion to dismiss for a plaintiff s failure to effect
service of process. Rule 4 of the Federal Rules ofCivil Procedure outlines the service requirements
Courts construe provisions of Rule 4 liberally in order to uphold service, requiring only “substantial

compliance.” Jackson v. l-Ia akaw , 682 F.Zd 1344, 1347 (9th Cir. 1982).

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Rule 4(m) governs the length of time permitted for service of process. Rule 4(m) states in
pertinent part:

lf service of the summons and complaint is not made upon a defendant within 120

days after the filing of the complaint, the court, upon motion or on its own initiative

after notice to the plaintiff, shall dismiss the action without prejudice as to that

defendant or direct that service be effected within a specified time; provided that if

the plaintiff shows good cause for the failure, the court shall extend the time for

service for an appropriate period.

Fed. R. Civ. P. 4(m). Def`endants argue that Plaintiff did not meet the Rule 4(m) requirement of
service of process Within 120 days, and, thus, the complaint should be dismissed In fact, Defendants
contend that Plaintiff never served Defendants.

When a plaintiff fails to perfect service within 120 days after filing a complaint, the plain
meaning of the rule gives a district court the discretion to dismiss a complaint or to allow service to
be perfected within a specified time, regardless of whether the plaintiff has demonstrated good cause.
S_ee Henderson v. United States, 517 U.S. 654, 662 (1996); Osborne v. First Union Nat. Bank of
Delaware, 217 F.R.D. 405, 406 (S.D. Ohio 2003). The Advisory Comrnittee notes following Rule
4(m) state:

The new subdivision explicitly provides that the court shall allow additional time if

there is good cause for the plaintiffs failure to effect service in the prescribed 120

days, and authorizes the court to relieve a plaintiff of the consequences of an

application of this subdivision even if there is no good cause shown.

Fed. R. Civ. P. 4, Advisory Committee Notes, Rule 4, subdivision (m). Furthermore, in Henderson,
the United States Supreme Court noted that the 1993 amendments to the Rules afford courts
discretion to expand the 120-day period, even if the plaintiff does not show good cause. 517 U.S.

at 662. “The Federal Rules thus convey a clear message: Complaints are not to be dismissed if

served within 120 days, or within such additional time as the court may allow.” Ld. at 663.

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Plaintiff did not respond to Defendants’ motion and thus did not argue that he had good cause
for the delay in service of process. Therefore, the choices available to the Court are to dismiss
without prejudice or to allow extra time for Plaintiff to effect service of process on Defendants As
Defendants are not prejudiced by the delay, it would be nonsensical to dismiss the action without
prejudice so that Plaintiff could bring the action again with timely service, Thus, the Court exercises
its discretion and extends the time allowable for service,

Defendants further submit that Plaintiff’s service was improper because service was
attempted to Corporation Service Company (“CSC”), who was authorized to accept service for
AutoNation USA Corporation but not AutoNation, lnc. Thus, Defendants assert, the complaint
should be dismissed for improper service, pursuant to Federal Rule of Civil Procedure 4(h).

Rule 4(h) states in pertinent part that service must be effected “by delivering a copy of the
summons and of the complaint to an officer, a managing or general agent, or to any other agent
authorized by appointment or by law to receive service of process.” Fed. R. Civ. P. 4(h)(1).

Plaintiff completed service of process to Defendants to CSC, who was the registered agent
of AutoNation USA Corporation. Because Defendants admit that CSC was the registered agent of
AutoNation USA Corporation and Plaintiff directed delivery to CSC, the Court finds that Defendants
cannot defeat service by claiming that service did not occur because CSC was not authorized to
accept service for the misnamed, nonexistent Defendants, when it was the proper registered agent
for AutoNation USA Corporation. Thereforc, the Court denies Defendants’ motion to dismiss based
on improper service pursuant to Rule l2(b)(5).

Defendants next argue that process was insufficient under Rule 12(b)(4) of the Federal Rules

of Civil Procedure. Rule 12(b)(4) permits a defendant to file a motion to dismiss for insufficiency

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of process. In this case, Defendants assert that Plaintiff served the wrong defendant. They contend
that Dobbs Ford ofMemphis a/k/a Dobbs Ford at Wolfchase was Plaintiff’s employer. Defendants
further contend that the correct name of the corporate entity for Dobbs Ford is AutoNation, lnc.,

instead of AutoNations, Inc. or AutoNations USA Corporation, whom Plaintiff attempted to serve.

Defendants contend that under Rule 15, Plaintiff cannot cure the defects in service at this
time because he was not within the 120-day period allowed under Rule 4(m). Rule 15(a) states in
pertinent part that “[a] party may amend the party’s pleading once as a matter of course at any time
before a responsive pleading is served.” Moreover, Rule 15(a) adds that a plaintiff may amend his
complaint by leave of court and that “leave shall be freely given when justice so requires.”
Fed.R.Civ.P. 15(a). Thus, the Court holds that Plaintiff may amend his complaint to name the proper
parties to this action.

Defendant further alleges that any amendment made by the Plaintiff will not relate back to
the date of the origina} pleading Rule 15(c) of the Federal Rules of Civil Procedure states in
pertinent part:

An amendment of a pleading relates back to the date of the original pleading when

(2) the claim or defense asserted in the amended pleading arose out of the conduct,

transaction, or occurrence set forth or attempted to be set forth in the original

pleading, or

(3) the amendment changes the party or the naming of the party against whom a

claim is asserted if the foregoing provision (2) is satisfied and, within the period

provided by Rule 4(m) for service of the summons and complaint, the party to be

brought in by amendment (A) has received such notice of the institution of the action

that the party will not be prejudiced in maintaining a defense on the merits, and (B)

knew or should have known that, but for a mistake concerning the identity of the
proper party, the action would have been brought against the party.

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Fed.R.Civ.P. l$(c).

Here, the claim that Plaintiff will assert in his amended pleading arose out of the conduct,
transaction, or occurrence that was attempted to be set forth in the original complaint, As discussed
above, the Court now extends the time provided by Rule 4(m), so the complaint is timely served.
Furthermore, Defendants have clearly received notice of the institution of the action and so will not
be prejudiced in maintaining a defense on the merits. Finally, Defendants knew or should have
known that, but for the mistake in the identity of the proper parties, the action would have been
brought against Defendants. The Court holds, therefore, that Plaintist amended complaint will
relate back to the date of the original complaintl Accordingly, the Court denies Defendant’s motion
to dismiss based on insufficiency of process.

For the aforementioned reasons, the Court DENIES Defendant’s motion to dismiss.
Moreover, the Court sua sponte directs the Plaintiff to cure the defects in service. Plaintiff has thirty
days from the date of this order to amend the complaint, naming the correct Defendants, and to

correct any defect in service.

IT rs so oRDERED this O?g day ofAugusr, 2005.

 

ITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:04-CV-03054 was distributed by fax, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Drayton D. Berkley

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Honorable Bernice Donald
US DISTRICT COURT

